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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 IXONIA BANK d/b/a NOVUS HOME                        )
 MORTGAGE,                                           )
                                                     )       CIVIL ACTION FILE NO.
                Plaintiff,                           )
                                                     )       1:25-cv-00516
 v.                                                  )
                                                     )
 TEXANA BANK NA, SCOTT SAX, and                      )       JURY TRIAL DEMANDED
 MICHAEL COLLINS,                                    )
                                                     )
            Defendants                               )
 SCOTT SAX and MICHAEL COLLINS,                      )
                                                     )
                Counterclaim Plaintiffs,             )
                                                     )
 v.                                                  )
                                                     )
 IXONIA BANK d/b/a NOVUS HOME                        )
 MORTGAGE and ERIC EGENHOEFER,                       )
                                                     )
                Counterclaim Defendants              )

                DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT

       Defendants Texana Bank NA (“Texana Bank”), Scott Sax (“Sax”), and Michael Collins

(“Collins”) (collectively referred to as “Defendants”), by and through their undersigned counsel,

hereby file this Answer and Separate Defenses to Plaintiff’s Complaint. Defendants respond to

the Paragraphs in Plaintiffs’ Complaint as follows:

       1.      How can a business protect itself from the bad actions of unscrupulous employees

and competitors? What should a business do when a senior executive develops a scheme with a

competitor to steal its employees, data, and customers? Why is it so hard for some business owners

to adhere to standards of ethics and good faith practices?



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RESPONSE: The allegations in Paragraph 1 of Plaintiff’s complaint are rhetorical questions to

which no response is required. To the extent a response is required, Defendants deny the

allegations contained in Paragraph 1 of Plaintiff’s Complaint and state further that Plaintiff should

ask the final question to itself in light of the facts set forth in Defendants’ counterclaims.

       2.      Plaintiff Novus Home Mortgage hoped to never have to answer these questions.

Yet two of its former senior executives, Defendants Scott Sax and Michael Collins, working in

close collaboration with Defendant Texana Bank NA, designed and executed a plan to “lift out”

Novus’s Denver-based retail mortgage lending operation for their benefit. Defendants stole

Novus’s employees, customers, data, and goodwill, resulting in unfair competition and unjust

enrichment.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations in

Paragraph 2 regarding Plaintiff’s state of mind. Defendants deny the remaining allegations

contained in Paragraph 2 of Plaintiff’s Complaint.

       3.      Defendants’ actions were intentional and unlawful. By no later than December

2024, Sax and Collins had decided to leave Novus for Texana. Instead of notifying Novus, they

actively solicited approximately two dozen other employees to join them while simultaneously

breaching their agreements with Novus. For example, for at least one month but perhaps longer,

they and their team remained employed by Novus while working on Texana’s behalf and against

Novus’s interests. As discussed below, they took incoming customers and business opportunities

and immediately passed them along to Texana. Further, they removed confidential business

information from Novus for their use at Texana, with Texana’s knowledge and active participation.

RESPONSE: Defendants deny the allegations contained in Paragraph 3 of Plaintiff’s Complaint.




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       4.      After Novus started asking questions, Sax and Collins finally admitted to Novus on

January 3, 2025 that they planned to leave Novus for Texana and take 23 employees with them. In

that conversation, they lied to Novus and claimed they had not transferred any loan files from

Novus to Texana and that they had not transferred any information to themselves.

RESPONSE: Defendants deny the allegations contained in Paragraph 4 of Plaintiff’s Complaint.

       5.      After their termination, Sax and Collins attempted to trespass upon their former

office space, aggressively demanding that the building’s management and cleaning staff allow

them in Novus’s office despite no longer working for Novus and despite having engaged in

numerous unlawful and damaging actions against Novus. Sax and Collins also claimed that Texana

would assume Novus’s sublease so long as they could “inspect” the office first. But, on information

and belief, this too was just a ruse to access the office and take more information and assets

belonging to Novus for use at Texana.

RESPONSE: Defendants deny the allegations contained in Paragraph 5 of Plaintiff’s Complaint.

       6.      Their motivations became clear once Novus began clearing out the office. That

space—paid for by Novus—had long since ceased to be an office where work was done for

Novus’s benefit. It was instead strewn with Texana documents and printouts of emails from

Texana’s loan processors showing that, contrary to Sax and Collins’s representations to Novus,

they and their team had been working diligently to shuttle every business opportunity away from

Novus and to Texana with Texana’s active participation in the unlawful scheme. And Sax, Collins,

and the staff they supervised and solicited to leave Novus had removed equipment and begun

boxing up items, clearly anticipating a move well before they notified Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 6 of Plaintiff’s Complaint.




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       7.      Defendants’ conduct was not only unethical, it was also illegal and has caused

Novus millions of dollars in losses. Through this action, Novus seeks relief from Texana, Sax, and

Collins for the damage they inflicted on Novus and the value they wrongly stole for themselves.

RESPONSE: Defendants deny the allegations contained in Paragraph 7 of Plaintiff’s Complaint.

                                            PARTIES

       8.      Plaintiff Ixonia Bank is a Wisconsin state-chartered bank with its principal place of

business in Wisconsin. Novus Home Mortgage is a division of Ixonia Bank and is a nationwide

mortgage lender.

RESPONSE: Defendants admit the allegations contained in Paragraph 8 of Plaintiff’s Complaint.

       9.      Defendant Texana Bank NA is a nationally chartered bank with its principal place

of business in Texas. Texana Bank offers mortgage lending services, now including in Denver,

Colorado.

RESPONSE: Defendants admit the allegations contained in Paragraph 9 of Plaintiff’s Complaint.

       10.     From approximately May 2024 to January 2025, Defendant Scott Sax was

employed by Novus in its Denver office as an Executive Western Regional Manager. Sax was a

“highly compensated” employee under the standards set by the Colorado Department of Labor and

Employment for the entirety of his employment at Novus. Since at least January 2025, Sax has

been employed by Texana. On information and belief, Sax resides in Greenwood Village,

Colorado.

RESPONSE: Defendants admit the allegations contained in Paragraph 10 of Plaintiff’s

Complaint.




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       11.     From approximately May 2024 to January 2025, Defendant Michael Collins was

employed by Novus in its Denver office as an Executive Western Regional Manager. Collins was

a “highly compensated” employee under the standards set by the Colorado Department of Labor

and Employment for the entirety of his employment at Novus. Since at least January 2025, Collins

has been employed by Texana. On information and belief, Collins resides in Lone Tree, Colorado.

RESPONSE: Defendants admit the allegations contained in Paragraph 11 of Plaintiff’s

Complaint.

                                JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because Plaintiff

and Defendants are citizens of different states and the amount in controversy exceeds $75,000.

RESPONSE: Defendants admit that Plaintiff and Defendants are citizens of different states.

Defendants admit that Plaintiff is claiming an amount that exceeds $75,000 but denies that Plaintiff

is entitled to any amount in damages.

       13.     This Court also has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1367

because this action arises in part under the laws of the United States and because the remaining

claims are so related to the federal claims that they form part of the same case or controversy.

RESPONSE: Defendants admit that this Court has subject matter jurisdiction over Plaintiff’s

claims under the referenced statutes. Defendants deny the remaining allegations contained in

Paragraph 13 of Plaintiff’s Complaint.

       14.     Each Defendant is subject to personal jurisdiction in this Court because this action

arises out of actions the Defendants took in Colorado to harm Novus.




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RESPONSE: Defendants admit that this Court has personal jurisdiction over Plaintiff’s claims.

Defendants deny the remaining allegations contained in Paragraph 14 of Plaintiff’s Complaint.

          15.      Sax and Collins are additionally subject to personal jurisdiction in this Court

because they executed Protective Agreements with Novus in which they agreed “venue shall be

the State or Federal courts sitting in Colorado and the parties waive any defense, whether asserted

by motion or pleading, that the venue specified by this [agreement] is an improper or inconvenient

venue.”

RESPONSE: Defendants admit that the Protective Agreements speak for themselves and deny

any characterization inconsistent with same.

                                            BACKGROUND

   I.           Novus Home Mortgage invests significant resources in its employees and in
                building customer and referral relationships.

          16.      Novus provides mortgage services to individuals and businesses across the United

States.

RESPONSE: Defendants admit the allegations contained in Paragraph 16 of Plaintiff’s

Complaint.

          17.      The banking business relies on relationships, and it takes years to develop the types

of relationships with customers and referral sources that keep them returning to Novus for their

banking and lending needs.

RESPONSE: Upon information and belief, Defendants admit the allegations contained in

Paragraph 17 of Plaintiff’s Complaint.

          18.      Because of how difficult it is to earn and keep a customer’s business, Novus invests

significant resources to train and assist its employees in strengthening their skills and relationships



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with Novus’s customers. The loss of an employee means the loss not only of revenue but also

customer trust and goodwill.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 18 of Plaintiff’s Complaint and therefore deny same.             Defendants

specifically deny that Novus invested significant resources to train and assist Sax, Collins, or the

employees who worked for them.

         19.      In particular, Novus hires and trains management staff to oversee and support its

operations. Those managers and executives, which until recently included Sax and Collins, are

responsible for training and overseeing their staffs and developing business.

RESPONSE: Defendants deny the allegations contained in Paragraph 19 of Plaintiff’s Complaint.

         20.      By investing in its employees and customer relationships, Novus has generated

significant revenues and profits. Novus anticipated this would have continued if Defendants had

not schemed to destroy the business it took Novus years to build.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in the first sentence of Paragraph 20 of Plaintiff’s Complaint and therefore deny same.

Defendants specifically deny the allegations contained in the second sentence of Paragraph 20 of

Plaintiff’s Complaint.

   II.         Novus hires Sax and Collins to build its Colorado presence and enters into
               agreements with them to protect Novus’s customer and employee relationships.

         21.      In May 2024, Novus hired Sax and Collins to strengthen Novus’s presence in

Colorado and build long-term relationships with customers and referral sources.




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RESPONSE: Defendants admit only that Sax and Collins were hired by Novus in May 2024.

Defendants are without knowledge sufficient to admit or deny the remaining allegations contained

in Paragraph 21 of Plaintiff’s Complaint and therefore deny same.

       22.      Novus made significant investments to give Sax and Collins the team and resources

they needed to succeed in Denver in a new office space.

RESPONSE: Defendants deny the allegations contained in Paragraph 22 of Plaintiff’s Complaint.

       23.      In August 2024, Novus subleased office space in Denver for Sax and Collins and

their team (the “Denver Novus Office”). Novus must pay nearly $300,000 in rent over the life of

the sublease that has now been cleared out and is sitting empty.

RESPONSE: Defendants admit the allegations contained in Paragraph 23 of Plaintiff’s

Complaint.

       24.      Novus invested in recruiting a team to support Sax and Collins. In particular, Novus

paid fees to a recruiter to locate and hire talented employees for Sax and Collins.

RESPONSE: Defendants admit the allegations contained in Paragraph 24 of Plaintiff’s

Complaint.

       25.      Sax and Collins’s team included the following (with Sax and Collins, the “Former

Employees”):

  Employee                Position

  John Adam               Loan Officer

  Tyler Andersen          Loan Officer Assistant

  Keith Balesk            Loan Officer

  Joseph Ball             Part-time Loan Officer




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 Kevin Barrett          Part-time Loan Officer

 Tammy Benoit           Loan Processor 3

 Susan Callaghan        Loan Officer

 Adam Cocozza           Part-time Loan Officer

 Thomas Daymil          Loan Officer

 Tommy Frangella        Loan Officer

 Ryan Graham            Loan Officer

 Dana Holland           Loan Officer

 Dallin Johnson         Loan Officer

 David Kravets          Loan Officer

 Christine Lombard      Loan Officer

 James McClure          Loan Officer

 Clayton Olson          Loan Officer Assistant

 Herbert Pounders       Loan Officer

 Sara Riney             Loan Processor 1

 Neve Seibert           Loan Officer

 Robert Smith           Part-time Loan Officer

 Kevin Tuccitto         Loan Officer

 Albin Ulle             Part-time Loan Officer

 Iris Vargas Castillo   Loan Officer




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RESPONSE: Defendants admit the allegations contained in Paragraph 25 of Plaintiff’s

Complaint.

       26.    Novus entered into multiple agreements with Sax, Collins, and the other Former

Employees (with the exception of Benoit and Riney, who performed administrative roles).

RESPONSE: Defendants admit the allegations contained in Paragraph 26 of Plaintiff’s

Complaint.

       27.    For example, Sax and Collins each executed a “Non-Producing Branch Manager

Employment Agreement” with Novus.

RESPONSE: Defendants admit the allegations contained in Paragraph 27 of Plaintiff’s

Complaint.

       28.    Former Employees Adam, Ball, Callaghan, Daymil, Frangella, Graham, Holland,

Johnson, Kravets, Lombard, McClure, Pounders, Siebert, Tuccitto, and Vargas Castillo each

executed a “Loan Officer Employment Agreement” with Novus.

RESPONSE: Defendants admit the allegations contained in Paragraph 28 of Plaintiff’s

Complaint.

       29.    Former Employees Balesk, Barrett, Cocozza, Smith, and Ulle each executed a

“Part-Time Loan Officer Employment Agreement” with Novus.

RESPONSE: Defendants admit the allegations contained in Paragraph 29 of Plaintiff’s

Complaint.

       30.    Former Employees Andersen and Olson each executed a “Loan Officer Assistant

Employment Agreement” with Novus.




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RESPONSE: Defendants admit the allegations contained in Paragraph 30 of Plaintiff’s

Complaint.

       31.     The agreements described above executed by the Former Employees are, together,

the “Employment Agreements.”

RESPONSE: The allegations in Paragraph 31 of Plaintiff’s Complaint do not require admission

or denial. To the extent a response is required, Defendants admit the allegations contained in

Paragraph 31 of Plaintiff’s Complaint.

       32.     Each of the Former Employees (with the exception of Benoit and Riney) also

executed a “Protective Agreement” with Novus. Before signing, the Protective Orders (and before

accepting employment offers with Novus), the employees who were based in Colorado (all except

Balesk, Frangella, and Kravets) received and signed notices stating:

       This notice is to advise you that [Novus] is, contemporaneously with this notice,
       providing you with a Protective Agreement (the “Agreement”) containing
       covenants that could restrict your options for subsequent employment following
       separation from the Company, in that you will be prohibited from certain
       solicitation of Restricted Customers, Referral Sources, employees, etc. as
       developed in Section 3.1 through Section 3.4 of the Agreement (as modified by the
       Colorado Addendum) and from disclosing or using Confidential Information.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations in

Paragraph 32 of the Complaint and therefore deny same.

       33.     The Employment Agreements and Protective Agreements contain several

provisions to protect Novus’s investments in the employees, to protect Novus from unfair

competition, and to protect Novus’s customers from unauthorized disclosures of their confidential

information.




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RESPONSE: Defendants state that the Employment Agreements and Protective Agreement speak

for themselves and deny any characterization inconsistent with same.

       34.    For instance, each of the Employment Agreements provides the following:

              a. Novus’s “Confidential Material” “shall not be used by Employee,
                 including after termination, for any purpose unrelated to Employee’s
                 work for [Novus].” (Non-Producing Branch Manager Employment
                 Agreement § 4.a; Part-Time Loan Officer Employment Agreement §
                 7.a; Loan Officer Assistant Employment Agreement § 7.a.)

              b. The Former Employees may not “use Confidential Material or Trade
                 Secrets for the benefit of any person or entity other than [Novus]” and
                 may not “remove, copy, duplicate or otherwise reproduce any document
                 or tangible item embodying or pertaining to any of the Confidential
                 Material or Trade Secrets, except as required to perform responsibilities
                 for [Novus.]” (Non-Producing Branch Manager Employment
                 Agreement § 4.b; Part-Time Loan Officer Employment Agreement §
                 7.b; Loan Officer Assistant Employment Agreement § 7.b.)

              c. Upon termination of employment with Novus, the Former Employees
                 must “promptly deliver to [Novus] the originals and copies of all
                 documents, records and property of any nature whatsoever in the
                 Employee’s possession or control which contain or consist of the
                 Confidential Information.” (Non-Producing Branch Manager
                 Employment Agreement § 4.d; Part-Time Loan Officer Employment
                 Agreement § 7.d; Loan Officer Assistant Employment Agreement §
                 7.d.)

              d. “Any computer, furniture, equipment, software, or log-in credentials
                 provided” by Novus to the Former Employees “shall be used solely for
                 the purpose of generating Business for Company.” (Non-Producing
                 Branch Manager Employment Agreement § 7; Part-Time Loan Officer
                 Employment Agreement § 10; Loan Officer Assistant Employment
                 Agreement § 10.) Upon termination of employment, the Former
                 Employees must “immediately deliver to Company any or all of
                 Company’s property in Employee’s possession or under Employee’s
                 control, including, but not limited to computers, company phones,
                 furniture, equipment, software (including all copies of computer
                 software and all data), log-in credentials, and any Confidential
                 Material.” (Id.)




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              e. While employed by Novus, the Former Employees “shall not be
                 employed by or represent any other mortgage banker, mortgage broker
                 or other financial services provider to consumers[.]” (Non- Producing
                 Branch Manager Employment Agreement § 12; Part-Time Loan Officer
                 Employment Agreement § 5; Loan Officer Assistant Employment
                 Agreement § 5.)


RESPONSE: Defendants state that the Employment Agreements and Protective Agreement speak

for themselves and deny any characterization inconsistent with same.

       35.    The Protective Agreements contain the following provisions:

              a. During their employment with Novus, the Former Employees may not
                 “directly or Indirectly engage in any employment or business activity
                 which is competitive with, or would otherwise conflict with,
                 Employee’s employment by the Company.” (Protective Agreements §
                 1.1.)

              b. The Former Employees must “disclose…to any future prospective
                 employers the existence of this Agreement and the nature of Employee’s
                 confidentiality and restrictive covenant obligations arising from it
                 before Employee accepts any new position of employment.” (Protective
                 Agreements § 1.2.)

              c. The Former Employees may not solicit Novus customers, referral
                 sources, and employees during employment and for one year following
                 termination. (Protective Agreements §§ 3.1–3.3.)1

              d. The Former Employees may not use “Confidential Information or Trade
                 Secrets” for the benefit of anyone but Novus and may not remove or
                 copy “Confidential Information or Trade Secrets” except as needed to
                 perform responsibilities for Novus. (Protective Agreements § 4.1.);


              e.   Sax and Collins must immediately return all of Novus’s property on
                   the Employee’s last day of work and to delete any Novus information
                   from the Employee’s personal devices. (Protective Agreements § 5.)

RESPONSE: Defendants state that the Employment Agreements and Protective Agreement speak

for themselves and deny any characterization inconsistent with same.




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   III.         Defendants secretly plot for Sax, Collins, and the Former Employees to begin
                working for Texana’s benefit while still employed by Novus in breach of their
                agreements and violation of their duty of loyalty.

          36.      By early December 2024, Sax and Collins had decided to disregard their obligations

to Novus and had solicited some or all of the Former Employees to leave Novus and join Texana.

By December 11, 2024, Texana had begun completing paperwork needed for Former Employees

to transfer their Nationwide Multistate Licensing System (NMLS) registration from Novus to

Texana. But no one informed Novus of these plans until January 2025.

RESPONSE: Defendants deny the allegations contained in Paragraph 36 of Plaintiff’s Complaint.

          37.      Worse, by December 2024, Sax and Collins and the other Former Employees,

despite still being employed by Novus, had ceased working for Novus’s benefit and were secretly

working on behalf of Texana. Instead of processing incoming loan applications with Novus, they

sent those opportunities to Texana. They did this with Defendants’ knowledge and encouragement,

often using personal email accounts to hide their unethical and wrongful conduct from Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 37 of Plaintiff’s Complaint.

          38.      For example, on December 4, 2024, Former Employee Dana Holland, while still

employed by Novus, emailed Manny Uceda, Texana’s Vice President of Mortgage Lending, from

her personal email account. Holland wanted Uceda’s help figuring out if she could process a

particular type of loan with Texana. Uceda forwarded that email to a representative at PennyMac

Financial Services and stated that Sax and Collins’ team at Novus was a “group closing 30–40

monthly units looking to join Texana Bank.” Uceda then added Sax to the chain, who responded

enthusiastically, stating “Perfect!” and “Great news! Thank you!”




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RESPONSE: Defendants admit that the referenced communications speak for themselves and

deny any characterization inconsistent with same. Defendants deny the remaining allegations

contained in Paragraph 38 of Plaintiff’s Complaint.

       39.     On December 16, 2024, Former Employee Neve Seibert, while still employed by

Novus, sent information regarding a pending loan from her Novus account to his personal email

account. Texana, not Novus, processed that loan.

RESPONSE: Defendants deny the allegations contained in Paragraph 39 of Plaintiff’s Complaint.

       40.     On December 18, 2024, Seibert received an email in his Novus email account about

a pending loan. Again, despite being employed by Novus, Seibert worked with Nella Longobardo,

a Texana loan processing manager, to ensure Texana and not Novus would receive this loan.

RESPONSE: Defendants admit that the referenced communication speaks for itself and deny any

characterization inconsistent with same. Defendants deny the remaining allegations in Paragraph

40 of Plaintiff’s Complaint.

       41.     On December 19, 2024, Former Employee Kevin Tuccitto, still employed by

Novus, emailed loan information from his Novus account to his personal account and then

forwarded it to Sax and Manny Uceda at Texana, stating “I have a new loan I’m bringing to

Texana[.]”

RESPONSE: Defendants admit that the referenced communication speaks for itself and deny any

characterization inconsistent with same. Defendants deny the remaining allegations contained in

Paragraph 41 of Plaintiff’s Complaint.

       42.     On December 30 and 31, 2024, Former Employee Joseph Ball, while still employed

by Novus, sent himself four emails from his Novus account to his personal account attaching




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several confidential documents concerning a pending loan, including private and confidential

information such as W-2 forms. That loan opportunity was provided to Texana, not Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 42 of Plaintiff’s Complaint.

         43.   On December 31, 2024, Former Employee Clayton Olson emailed himself from his

Novus account to a Texana account in his name (cj.olson@texanabank.com). Novus had still not

been informed that Sax, Collins, or any of the Former Employees planned to leave, but Texana

had already created an email account for Olson, demonstrating Texana’s ongoing and active

involvement in their deceit. Texana was working jointly with the Former Employees, including

the individual Defendants, in breaching their duties to Novus and violating the law.

RESPONSE: Defendants deny the allegations contained in Paragraph 43 of Plaintiff’s Complaint.

         44.   Ball attached to his email several documents for a pending loan application,

including contract documents and a tax bill. That loan opportunity was provided to Texana, not

Novus.

RESPONSE: Defendants admit that the referenced communication speaks for itself and deny any

characterization inconsistent with same. Defendants deny the remaining allegations contained in

Paragraph 44 of Plaintiff’s Complaint.

         45.   The Former Employees also surreptitiously removed highly sensitive, confidential,

proprietary, trade secret information from Novus for use at Texana in express violation of their

obligations to Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 45 of Plaintiff’s Complaint.

         46.   The Denver Novus office maintained a spreadsheet of pending loans that it called

the “pipeline.” The “pipeline” spreadsheet was regularly updated and circulated by email, and it




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contained information including loan numbers, borrower names, loan amounts, estimated closing

dates, and information concerning the progress of the loan application.

RESPONSE: Defendants admit the allegations contained in Paragraph 46 of Plaintiff’s

Complaint.

       47.     On December 5, 2024, Former Employee Parker McClure forwarded the pipeline

spreadsheet to Defendant Scott Sax and stated “I uploaded it to teams so you should be all set[.]”

On December 10, 12, and 19, 2024, McClure notified Sax that he had uploaded the most current

pipeline spreadsheets to “box” or “the box.” Sax thanked McClure each time.

RESPONSE: Defendants admit the allegations contained in Paragraph 47 of Plaintiff’s

Complaint.

       48.     On information and belief, McClure was referring to Microsoft Teams and Box,

popular filesharing services where users can upload files and share them with others. McClure and

Sax had no legitimate business reason to upload this information to a non-Novus server, and doing

so breached their contractual obligations to Novus. On information and belief, they uploaded these

spreadsheets so they could use the confidential information they contained for Texana’s benefit

and access the information after their employment with Novus terminated.

RESPONSE: Defendants deny the allegations contained in Paragraph 48 of Plaintiff’s Complaint.

       49.     On December 11, 2024, Former Employee Adam Cocozza, while still employed by

Novus, sent an email from his Novus account to his personal account with the subject line “Clients

for Boomerang Mailing List” and attached a spreadsheet with the filename “WHOLE OFFICE

LOAN LIST.xlsx.” The spreadsheet contained over 6500 entries regarding completed or pending

loans, including names and contact information for borrowers, buyers’ agents, and sellers’ agents




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and detailed information regarding loan amounts and interest rates. Boomerang is a direct

marketing firm. On information and belief, Sax, Collins, and the Former Employees intended to

use this list to notify customer and prospective customer of their move from Novus to Texana.

RESPONSE: Defendants admit the allegations in Paragraph 49 of Plaintiff’s Complaint to the

extent that the documents in question predated the Former Employees’ employment with Novus

and were not the property of Novus. Defendants deny the remaining allegations contained in

Paragraph 49 of Plaintiff’s Complaint.

         50.      On December 30, 2024, Former Employee Joseph Ball, in addition to emailing

himself confidential loan information, also sent himself at least three emails from his Novus

account to his personal account attaching several Novus documents to each email, including forms,

checklists, and templates. On information and belief, he sent himself these documents for use at

his anticipated new position at Texana. These documents were the property of Novus.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 50 of Plaintiff’s Complaint and therefore deny same.

         51.      And from December 3, 2024 to January 3, 2025, Former Employee David Kravets

forwarded himself approximately 468 emails from his Novus account to his personal account. On

information and belief, he emailed himself this information for use at Texana.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 51 of Plaintiff’s Complaint and therefore deny same.

   IV.         Sax and Collins lie to Novus, claiming they had not moved any loan applications
               to Texana.

         52.      On the evening of Friday, January 3, 2025, after working in secret for at least a

month to shuttle loan applications to Texana and remove confidential information from Novus,



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Sax and Collins spoke with Novus’s National Sales Director, Brian Jensen, and finally admitted

that they were leaving Novus for Texana and had solicited the Former Employees to join them.

RESPONSE: Defendants deny the allegations contained in Paragraph 52 of Plaintiff’s Complaint.

       53.     Jensen asked Sax and Collins if they had transferred any loan files or applicants

from Novus to Texana. Sax and Collins assured him they had not. Trusting that representation,

Jensen followed up with an email that, among other things, stated “[w]e expect the active pipeline

to close with Novus…We will work with your processors on Monday to get a full knowledge

transfers of the loans in the pipeline that will be closing.”

RESPONSE: Defendants admit that the referenced communication speaks for itself and deny any

characterization inconsistent with same. Defendants deny the remaining allegations contained in

Paragraph 53 of Plaintiff’s Complaint.

       54.     Sax and Collins lied to Jensen. As discussed above, for at least a month the Former

Employees, with Sax, Collins’ and Texana’s knowledge and approval, had been transferring loans

to Texana. In fact, when Novus recently cleared out the Denver Novus Office, it found a printed

copy of a January 2, 2025 email from Nella Longobardo at Texana to Sax and Collins, several

other Former Employees, and Texana VP Manny Uceda with the subject line “Denver loans.” The

email provided a status update on 14 loans Texana was processing that had been submitted by the

Former Employees while still employed by Novus. Longobardo sent that email just a day before

Sax and Collins falsely represented to Novus that no loan applications had been transferred to

Texana.

RESPONSE: Defendants deny the allegations that Sax and Collins lied to Jensen and transferred

loans to Texana for at least a month before the end of their relationship with Novus. Defendants




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are without knowledge sufficient to admit or deny the remaining allegations contained in

Paragraph 54 of Plaintiff’s Complaint and therefore deny same.

       55.     Novus also found several “Underwriting Approval Summaries” on Texana

letterhead in the Denver Novus Office regarding loans Texana was processing that had been

referred by Former Employees in December 2024, while they were still employed by Novus.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 55 of Plaintiff’s Complaint and therefore deny same.

       56.     Upon learning that Sax, Collins and the Former Employees planned to join a

competitor, Texana, Novus terminated them and changed the locks on the Denver Novus Office

so they could no longer use the office to advance Texana’s interests to Novus’s benefit.

RESPONSE: Defendants admit that some of the Former Employees were terminated by Novus.

Defendants deny that Sax and Collins were terminated by Novus. Defendants deny the remaining

allegations contained in Paragraph 56 of Plaintiff’s Complaint.

       57.     The Former Employees failed to return equipment Novus issued to them, including

28 laptop computers containing confidential Novus information.

RESPONSE: Defendants deny the allegations contained in Paragraph 57 of Plaintiff’s Complaint.

       58.     The web domain used by the Denver Novus Office, although owned by Novus, is

registered in the names of two Former Employees. They have failed to transfer control of the web

domain to Novus.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 58 of Plaintiff’s Complaint and therefore deny same.




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        59.      Initially, Sax, Collins, and Texana agreed to assume the sublease for the Denver

Novus Office and to continue using it for Texana. However, they insisted they be given access to

the office to “inspect” it before assuming the sublease. This made no sense: Sax and Collins

worked out of the office from the beginning of the sublease through January 6, 2025 and were

more familiar with it and its condition than anyone else. They had no need to “inspect” it unless

they planned to steal more Novus data, information, or assets.

RESPONSE: Defendants admit that they initially agreed to assume the sublease for the Denver

Novus Office before Novus reneged on the terms of the parties’ agreement. Defendants deny the

remaining allegations contained in Paragraph 59 of Plaintiff’s Complaint.

        60.      Sax and Collins thereafter tried several times to gain unauthorized entry to the

Denver Novus Office, including by contacting and harassing the building’s management and

cleaning staff to let them in. The building’s management informed Novus that Sax had been

aggressive and threatening in demanding access. Sax and Collins of course have no right to access

the Denver Novus Office after their termination; in fact, it would be a criminal trespass.

RESPONSE: Defendants deny the allegations contained in Paragraph 60 of Plaintiff’s Complaint.

        61.      On information and belief, Sax and Collins wanted to access the Denver Novus

Office after their termination to continue removing confidential information for Texana’s benefit

and to destroy evidence indicating the extent to which they had been working on Texana’s behalf

while employed by Novus, such as the printed emails and documents from Texana that Novus has

already discovered.

RESPONSE: Defendants deny the allegations contained in Paragraph 61 of Plaintiff’s Complaint.

   V.         Defendants have damaged Novus and unjustly enriched Texana.




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       62.    Defendants’ actions have damaged and will continue to damage Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 62 of Plaintiff’s Complaint.

       63.    Some of Novus’s losses are immediate and easily measurable. For example, Novus

is now party to a sublease for the Denver Novus Office that it no longer needs and which was

provided to the individual Defendants at great expense so they could build out the Denver office

and support the growth of Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 63 of Plaintiff’s Complaint.

       64.    Further, since at least December 2024, Sax, Collins, and the other Former

Employees were using the Denver Novus Office, their company-issued laptops, their Novus email

accounts, and every other resource Novus provided them to work against Novus’s interests and on

behalf of one of its competitors, Texana. Novus has been significantly damaged by these actions,

and Texana unjustly enriched by them.

RESPONSE: Defendants deny the allegations contained in Paragraph 64 of Plaintiff’s Complaint.

       65.    Because of Defendants’ actions, Novus’s investments in recruiting and training the

Former Employees now inure to Texana’s benefit and not Novus’s. In particular, Novus paid a

recruiter for at least one employee who never performed any work for Novus and instead

immediately began working for Texana, yet Texana has refused to reimburse Novus for that

expense and has improperly retained the benefit.

RESPONSE: Defendants deny the allegations contained in Paragraph 65 of Plaintiff’s Complaint.

       66.    And despite Sax and Collins’s lies, they and the Former Employees shuttled as

many opportunities as possible to Texana while still employed by Novus and while obligated to




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work for Novus’s benefit and not its competitor’s. Defendants’ actions have resulted in Texana

and not Novus profiting from those opportunities.

RESPONSE: Defendants deny the allegations contained in Paragraph 66 of Plaintiff’s Complaint.

       67.     But Novus’s most profound losses are as of yet fully unknown and will continue

well into the future.

RESPONSE: Defendants deny the allegations contained in Paragraph 67 of Plaintiff’s Complaint.

       68.     Novus has lost the goodwill it entrusted Sax and Collins to build in Denver and the

surrounding area. It has lost the Former Employees to Texana despite Sax and Collins’ explicit

contractual obligations not to solicit them to leave. Novus is now subject to competition from its

own workers who left because of Defendants’ breach of their obligations. Novus not only lost the

loans that the Former Employees funneled to Texana while they were supposed to be working for

Novus, it will continue losing business opportunities for years to come that it would have had but

for Defendants’ wrongful actions.

RESPONSE: Defendants deny the allegations contained in Paragraph 68 of Plaintiff’s Complaint.

       69.     And Texana has obtained unknown amounts of Novus’s confidential and trade

secret information because of Sax, Collins, and the Former Employees. It is impossible for Novus

to know at this early stage, without the benefit of discovery, the extent to which the Former

Employees raided Novus’s files and took them for Texana’s benefit. Based on the information

available to Novus, it appears the Former Employees attempted to use their personal email

addresses as much as possible to escape Novus’s detection while they actively plotted against it.

It also appears they may have used filesharing services including Box, Microsoft Teams, and a

Microsoft 365 Family subscription to remove and store information in the cloud without detection




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by Novus. The ultimate extent of Defendants’ actions to strip Novus of its employees, customers,

potential customers and confidential information to benefit Texana remains to be seen.

RESPONSE: Defendants deny the allegations contained in Paragraph 69 of Plaintiff’s Complaint.

        70.     Through this action, Novus seeks relief for Defendants’ unfair, unethical, and

illegal conduct which has and will cost Novus millions of dollars.

RESPONSE: Defendants admit that Novus seeks relief on its claims. Defendants deny that

Defendants have acted unlawfully in any way, deny that Novus is entitled to any such relief, and

deny all remaining allegations contained in Paragraph 70 of Plaintiff’s Complaint.

                                          COUNT ONE
                                        Breach of Contract
                                      (Against Sax & Collins)

        71.     Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.

RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        72.     The Protective Agreements are valid and enforceable contracts.

RESPONSE: The allegation that the Protective Agreements are valid and enforceable is a legal

conclusion that does not require a response. To the extent that it does require a response,

Defendants deny the allegations contained in Paragraph 72 of Plaintiff’s Complaint.

        73.     Sax and Collins were both “highly compensated” employees under the standards

set by the Colorado Department of Labor and Employment during the entirety of their employment

at Novus. As alleged above, before accepting employment offers with Novus, Sax and Collins




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received and signed notices regarding the nonsolicitation and confidentiality restrictions in the

Protective Agreements.

RESPONSE: Defendants deny the allegations contained in Paragraph 73 of Plaintiff’s Complaint.

       74.    Sax and Collins breached the Protective Agreements in myriad ways:

              a. They worked on behalf of Texana, in breach of their obligation to not
                 “directly or Indirectly engage in any employment or business activity
                 which is competitive with, or would otherwise conflict with,
                 Employee’s employment by [Novus].” (Protective Agreements § 1.1.)

              b. The Protective Agreements provide that “Employee specifically
                 understands and agrees that information pertaining to borrowers or
                 potential borrowers of [Novus] that Employee obtains as an employee
                 of [Novus] is and shall remain the Confidential Information of [Novus]
                 and shall not be used by Employee at any time, including after the Last
                 Day (defined below), for any purpose unrelated to Employee’s work for
                 [Novus].” (Protective Agreements § 2.1.) But Sax and Collins oversaw
                 the Former Employees while they removed borrower information to
                 personal email accounts and then provided it to Texana for Texana’s
                 use, often being themselves copied on these communications.

              c. On information and belief, Sax and Collins removed other “Confidential
                 Information” from Novus, either directly or via their oversight and
                 direction of the Former Employees, in further breach of their
                 confidentiality obligations to Novus. (Protective Agreements §§ 2.1,
                 4.1.)

              d. Sax and Collins solicited and encouraged the Former Employees to
                 leave Novus and join Texana, in breach of their employee
                 nonsolicitation obligations. (Protective Agreements § 3.3.)

              e. Sax and Collins solicited and encouraged Novus customers, either
                 directly or via their oversight and direction of the Former Employees,
                 to terminate their relationships with Novus and enter relationships with
                 Texana, in breach of their customer nonsolicitation obligations.
                 (Protective Agreements § 3.1.)

       f.     Sax and Collins breached their obligation to, upon termination,
              “immediately return to [Novus] all property belonging to [Novus] (in
              electronic or hard-copy form)” and to “cooperate with [Novus] to remove
              or delete” Novus information from their personal devices. (Protective



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               Agreements § 5.) Sax and Collins have not returned to Novus the laptops
               and other devices Novus issued them.

RESPONSE: Defendants deny the allegations contained in Paragraph 74 of Plaintiff’s Complaint.

         75.   On information and belief, discovery will uncover further breaches of the Protective

Agreements.

RESPONSE: Defendants deny the allegations contained in Paragraph 75 of Plaintiff’s Complaint.

         76.   Sax and Collins’s breaches have damaged Novus in an amount to be determined at

trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 76 of Plaintiff’s Complaint.

         77.   Further, the Protective Agreements entitle Novus to “the recovery and return of any

amount paid to [Sax and Collins] to enter into this Agreement, the disgorgement of any profits,

commissions, or fees realized by Employee, [and] any subsequent employers[.]” (Protective

Agreements § 8.)

RESPONSE: Defendants admit the Protective Agreements speak for themselves and deny any

characterization inconsistent with same. Defendants deny the remaining allegations contained in

Paragraph 77 of Plaintiff’s Complaint.

         78.   The Protective Agreements also provide that Sax and Collins “shall pay [Novus]

all reasonable costs and attorneys’ fees [Novus] incurred because of [Sax and Collins’s] breach of

this Agreement.” (Protective Agreements § 8.)

RESPONSE: Defendants admit the Protective Agreements speak for themselves and deny any

characterization inconsistent with same. Defendants deny the remaining allegations contained in

Paragraph 77 of Plaintiff’s Complaint.

                                         COUNT TWO



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                               Tortious Interference With Contract
                                     (Against all Defendants)

        79.     Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.

RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        80.     The Employment Agreements and Protective Agreements executed by the Former

Employees are valid and enforceable agreements.

RESPONSE: The allegation that the Employment Agreements and Protective Agreements are

valid and enforceable is a legal conclusion which does not require a response. To the extent that

it does require a response, Defendants deny the allegations contained in Paragraph 80 of Plaintiff’s

Complaint.

        81.     Sax and Collins were aware of each other’s Employment Agreements and

Protective Agreements. They held the same position in the same office and executed these

agreements on the same day as one another. They understood these agreements were conditions of

employment with Novus.

RESPONSE: Defendants admit that the Employment Agreements and Protective Agreements

speak for themselves and deny any characterization inconsistent with same. Defendants deny the

remaining allegations contained in Paragraph 81 of Plaintiff’s Complaint.

        82.     Sax and Collins were further aware of the other Former Employees’ Employment

Agreements and Protective Agreements. Again, as managerial employees who oversaw the Former

Employees, they understood these were standard agreements that Novus required of all employees




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that held the positions held by the Former Employees. In fact, Collins signed the cover sheet to at

least some of the Employment Agreements.

RESPONSE: Defendants admit that the Employment Agreements and Protective Agreements

speak for themselves and deny any characterization inconsistent with same. Defendants deny the

remaining allegations contained in Paragraph 82 of Plaintiff’s Complaint.

       83.     On information and belief, Texana was aware of the existence of the Former

Employees’ Employment Agreements and Protective Agreements. The Protective Agreements

required the Former Employees to disclose “to any future prospective employers the existence of

this [Protective] Agreement and the nature of Employee’s confidentiality and restrictive covenant

obligations arising from it before Employee accepts any new position of employment.” (Protective

Agreements § 1.2.) And Texana is a sophisticated and experienced bank and mortgage lender. It

knows that federal regulation including the Gramm-Leach-Bliley Act requires financial

institutions to take measures to prevent disclosure of nonpublic personal information. If further

knows that due to the competitive nature of the business, disclosure of confidential information or

solicitation of employees and customers can cause significant damage. Given this, it is aware that

banks and mortgage lenders nearly always require employees who hold the positions held by the

Former Employees to sign confidentiality and nonsolicitation agreements.

RESPONSE: Defendants admit that the Employment Agreements and Protective Agreements

speak for themselves and deny any characterization inconsistent with same. Defendants admit that

Texana is a sophisticated and experienced bank and mortgage lender. Defendants are without

knowledge sufficient to admit or deny the remaining allegations in Paragraph 83 of the Complaint

and therefore deny same.




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      84.    All Former Employees breached their Protective Agreements in the same manner

as Sax and Collins as alleged above. They also all breached various provisions of their

Employment Agreements:

             a. They breached their obligations to, while employed by Novus, “not be
                employed by or represent any other mortgage banker, mortgage broker
                or other financial services provider to consumers[.]” (Non- Producing
                Branch Manager Employment Agreement § 12; Part-Time Loan Officer
                Employment Agreement § 5; Loan Officer Assistant Employment
                Agreement § 5.)

             b. They breached their confidentiality obligations by removing
                confidential and trade secret information (including customer
                information) and using it for their own benefit or that of Texana. (Non-
                Producing Branch Manager Employment Agreement §§ 4.a–b; Part-
                Time Loan Officer Employment Agreement § 7.a–b; Loan Officer
                Assistant Employment Agreement § 7.a–b.)

             c. They breached their obligations, upon termination of employment with
                Novus, to “promptly deliver to [Novus] the originals and copies of all
                documents, records and property of any nature whatsoever in the
                Employee’s possession or control which contain or consist of the
                Confidential Information.” (Non-Producing Branch Manager
                Employment Agreement § 4.d; Part-Time Loan Officer Employment
                Agreement § 7.d; Loan Officer Assistant Employment Agreement §
                7.d.)

             d. They breached their obligations that “[a]ny computer, furniture,
                equipment, software, or log-in credentials provided” by Novus to the
                Former Employees “shall be used solely for the purpose of generating
                Business for [Novus].” (Non-Producing Branch Manager Employment
                Agreement § 7; Part-Time Loan Officer Employment Agreement § 10;
                Loan Officer Assistant Employment Agreement § 10.)

             e. They breached their obligations, upon termination of employment, to
                “immediately deliver to Company any or all of Company’s property in
                Employee’s possession or under Employee’s control, including, but not
                limited to computers, company phones, furniture, equipment, software
                (including all copies of computer software and all data), log-in
                credentials, and any Confidential Material.” (Non-Producing Branch
                Manager Employment Agreement § 7; Part-Time Loan Officer




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                  Employment Agreement § 10; Loan Officer Assistant Employment
                  Agreement § 10.)


RESPONSE: Defendants deny the allegations contained in Paragraph 84 of Plaintiff’s Complaint.

       85.    Each of the Defendants intended that the Former Employees breach their

Employment Agreements and Protective Agreements.

RESPONSE: Defendants deny the allegations contained in Paragraph 85 of Plaintiff’s Complaint.

       86.    Sax and Collins solicited the Former Employees to work for Texana’s benefit and

were included on communications where Former Employees transferred confidential borrower

information and business opportunities to Texana. On information and belief, Sax and Collins did

so believing they would be compensated by Texana for their breaches and disloyalty.

RESPONSE: Defendants deny the allegations contained in Paragraph 86 of Plaintiff’s Complaint.

       87.    Texana encouraged the illegal solicitation of the Former Employees by helping

them transfer their NMLS registrations and providing Texana email accounts to Former

Employees while they were still employed by Novus. It encouraged breaches of confidentiality

obligations and customer nonsolicitation obligations by accepting that information and then

processing loans for would-be Novus customers and reaping the financial benefit. These breaches

further benefitted Texana by giving it a readymade foothold in Denver by bringing over Sax and

Collins’ team en masse. This would not have been possible but for breaches of the Employment

Agreements and Protective Agreements.

RESPONSE: Defendants deny the allegations contained in Paragraph 87 of Plaintiff’s Complaint.

       88.    Defendants acted improperly in causing these breaches.

RESPONSE: Defendants deny the allegations contained in Paragraph 88 of Plaintiff’s Complaint.




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        89.     Defendants’ tortious actions damaged Novus in an amount to be determined at trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 89 of Plaintiff’s Complaint.

                                       COUNT THREE
                   Tortious Interference With Prospective Business Relation
                                    (Against all Defendants)

        90.     Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.

RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        91.     Novus had an expectation of entering into mortgage contracts with existing and

prospective customers, including those would-be customers that the Former Employees referred

to Texana in December 2024 and January 2025.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations in

Paragraph 91 of the Complaint and therefore deny same.

        92.     Defendants intentionally and improperly interfered with these prospective

contractual relations and caused existing and prospective customers not to sign mortgage contracts

with Novus and in many instances to sign them with Texana.

RESPONSE: Defendants deny the allegations contained in Paragraph 92 of Plaintiff’s Complaint.

        93.     This conduct was improper. As alleged in this complaint, Defendants accomplished

their interference through violation of federal and state trade secrets laws, breaches of contracts,

and torts.

RESPONSE: Defendants deny the allegations contained in Paragraph 93 of Plaintiff’s Complaint.

        94.     Defendants’ tortious actions damaged Novus in an amount to be determined at trial.




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RESPONSE: Defendants deny the allegations contained in Paragraph 94 of Plaintiff’s Complaint.

                                       COUNT FOUR
                          Defend Trade Secrets Act (18 U.S.C. § 1836)
                                   (Against all Defendants)

        95.     Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.

RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        96.     Novus owns and maintains trade secret information including but not limited to

databases of customers and potential customers and highly sensitive information concerning them,

including tax returns, Social Security numbers, paystubs, W-2 forms, property valuations,

purchase offers, purchase contracts, and loan applications.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 96 of Plaintiff’s Complaint and therefore deny same.

        97.     The trade secrets described above derive actual or potential independent economic

value from not being generally known to, and not being readily ascertainable through proper means

by, another person who can obtain economic value from the disclosure or use of the information.

For example, this information would permit a competitor to emulate or counter Novus’s marketing

plans or market loans to Novus’s customers and potential customers, thereby taking valuable

business from Novus.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 97 of Plaintiff’s Complaint and therefore deny same.




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       98.     The trade secrets described above are related to a product or service used in, or

intended for use in, interstate or foreign commerce.” For example, Novus and Ixonia Bank are

based in Wisconsin. The trade secrets included information concerning Novus’s nationwide

business plans and customers and potential customers located in Colorado and elsewhere. The

trade secrets were acquired and disclosed by the Former Employees in Colorado and acquired by

Texana, a bank based in Texas.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 98 of Plaintiff’s Complaint regarding the nature of Novus’s trade secrets

and therefore deny same. Defendants deny the remaining allegations in Paragraph 98 of the

Complaint.

       99.     Novus has taken reasonable measures to keep its trade secret information secret.

Novus stores information in a secured computer network that can only be accessed by authorized

employees with login credentials and passwords. Novus prohibits the use of removable devices

such as “thumb drives,” removable discs, or memory cards on Novus-issued computers to limit

users’ ability to copy or remove information. If a user attempts to use a removable device he or

she receives an error message and is refused access. Further, Novus requires its employees to sign

Employment Agreements and Protective Agreements that prohibit them from disclosing this

information or use it for any purpose except for fulfilling their responsibilities for Novus.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 99 of Plaintiff’s Complaint and therefore deny same.

       100.    Sax and Collins, directly and via the Former Employees who they supervised and

then solicited to leave Novus for Texana, disclosed Novus’s trade secrets to Texana. Some




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information, such as the pending “pipeline” was directly provided to Texana. Other information

was uploaded to filesharing services or forwarded to personal email accounts for Sax, Collins, or

the other Former Employees. On information and belief, that information was removed from

Novus’s servers for disclosure to and use by Texana. Sax and Collins and the other Former

Employees had a duty to maintain the secrecy of the information due to their contractual and

common law obligations to Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 100 of Plaintiff’s

Complaint.

       101.    Texana acquired Novus’s trade secret information from Sax, Collins, and the other

Former Employees. Texana knew or had reason to know it acquired Novus’s trade secret

information by improper means. On information and belief, Texana was aware of the Former

Employees’ Employment Agreements and Protective Agreements or was at least aware that they

were subject to confidentiality obligations prohibiting them from sharing this information with

Texana. Further, every bank and mortgage lender would understand that other banks and mortgage

lenders keep this information confidential not only because it provides a competitive advantage

but also because government regulations require personal information be kept strictly confidential.

RESPONSE: Defendants deny the allegations contained in Paragraph 101 of Plaintiff’s

Complaint.

       102.    Texana’s misappropriation of Novus’s trade secrets has caused actual losses to

Novus in an amount to be determined at trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 102 of Plaintiff’s

Complaint.




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        103.    Texana’s misappropriation of Novus’s trade secrets has unjustly enriched Texana

in an amount to be determined at trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 103 of Plaintiff’s

Complaint.

        104.    In the alternative, Novus is entitled to a reasonable royalty for Texana’s

unauthorized acquisition or use of Novus’s trade secrets.

RESPONSE: Defendants deny the allegations contained in Paragraph 104 of Plaintiff’s

Complaint.

        105.    Texana’s misappropriation of Novus’s trade secrets was and is willful and

malicious. Novus is entitled to exemplary damages and reasonable attorney’s fees as provided in

18 U.S.C. § 1836(b)(3).

RESPONSE: Defendants deny the allegations contained in Paragraph 105 of Plaintiff’s

Complaint.

                                    COUNT FIVE
               Colorado Uniform Trade Secrets Act (C.R.S. § 7-74-101, et seq.)
                                   (Against Texana)

        106.    Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.

RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        107.    Novus’s trade secrets are secret and of value. Novus obtained the trade secrets by

expending significant effort and goodwill, at great expense.




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RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 107 of Plaintiff’s Complaint and therefore deny same.

         108.   As described above, Novus has taken measures to prevent its trade secrets from

becoming available to persons other than those selected by Novus to have access thereto for limited

purposes.

RESPONSE: Defendants are without knowledge sufficient to admit or deny the allegations

contained in Paragraph 108 of Plaintiff’s Complaint and therefore deny same.

         109.   As alleged above, Sax and Collins, directly and via the Former Employees who

they supervised and then solicited to leave Novus for Texana, disclosed Novus’s trade secrets to

Texana. Sax and Collins and the other Former Employees had a duty to maintain the secrecy of

the information due to their contractual and common law obligations to Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 109 of Plaintiff’s

Complaint.

         110.   Texana misappropriated Novus’s trade secrets by acquiring them. As alleged

above, Texana knew or had reason to know that Novus’s trade secrets were acquired by improper

means.

RESPONSE: Defendants deny the allegations contained in Paragraph 110 of Plaintiff’s

Complaint.

         111.   Texana’s misappropriation of Novus’s trade secrets has caused actual losses to

Novus in an amount to be determined at trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 111 of Plaintiff’s

Complaint.




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        112.    In addition to Novus’s actual losses, Texana’s misappropriation of Novus’s trade

secrets has unjustly enriched Texana in an amount to be determined at trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 112 of Plaintiff’s

Complaint.

        113.    In the alternative, Novus is entitled to a reasonable royalty for Texana’s

unauthorized disclosure or use of Novus’s trade secrets.

RESPONSE: Defendants deny the allegations contained in Paragraph 113 of Plaintiff’s

Complaint.

        114.    Texana’s misappropriation was attended by circumstances of fraud, malice, and a

willful and wanton disregard of Novus’s right and feelings. Novus is entitled to exemplary

damages as provided in C.R.S. § 7-74-104.

RESPONSE: Defendants deny the allegations contained in Paragraph 114 of Plaintiff’s

Complaint.

        115.    Texana’s misappropriation was willful and malicious. Novus is entitled to

reasonable attorney fees as provided in C.R.S. § 7-74-105.

RESPONSE: Defendants deny the allegations contained in Paragraph 115 of Plaintiff’s

Complaint.

                                         COUNT SIX
                                   Breach of Duty of Loyalty
                                   (Against Sax and Collins)

        116.    Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.




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RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        117.    Sax and Collins were managerial employees of Novus with significant

responsibilities.

RESPONSE: Defendants admit the allegation that Sax and Collins were managerial employees

of Novus. Defendants deny the remaining allegations contained in Paragraph 117 of Plaintiff’s

Complaint.

        118.    While still employed by Novus, Sax and Collins solicited customers for Texana,

solicited other Novus employees to terminate their employment, and took confidential, proprietary,

trade secret information from Novus for Texana’s benefit.

RESPONSE: Defendants deny the allegations contained in Paragraph 118 of Plaintiff’s

Complaint.

        119.    By so doing, Sax and Collins breached their duties of loyalty to Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 119 of Plaintiff’s

Complaint.

        120.    Sax and Collins’ breaches of their duties of loyalty damaged Novus in an amount

to be determined at trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 120 of Plaintiff’s

Complaint.




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                                          COUNT SEVEN
                                         Unjust Enrichment
                                          (Against Texana)

        121.    Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.

RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        122.    Texana has received multiple benefits at Novus’s expense. Novus invested in

building its Denver branch, only to have Defendants orchestrate the move from Novus to Texana

so that Texana, not Novus, benefits from those investments.

RESPONSE: Defendants deny the allegations contained in Paragraph 122 of Plaintiff’s

Complaint.

        123.    For example, Novus invested significant resources in recruiting the Former

Employees. But by soliciting Sax and Collins to solicit them to leave Novus en masse, Texana

obtained the benefit of Novus’s recruiting investments. In particular, as alleged above, Novus paid

a recruiter with respect to one Former Employee who never performed any work for Novus’s

benefit and immediately began working on Texana’s behalf.

RESPONSE: Defendants deny the allegations contained in Paragraph 123 of Plaintiff’s

Complaint.

        124.    Novus provided Sax, Collins, and the other Former Employees with office space,

laptops and other devices, email accounts, marketing tools, and other resources. But they used

these resources for Texana’s benefit. Texana was unjustly enriched by the use of these Novus

resources for Texana’s benefit.




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RESPONSE: Defendants admit that Sax, Collins, and the Former Employees were provided with

certain resources during their employment with Novus. Defendants deny the remaining allegations

contained in Paragraph 124 of Plaintiff’s Complaint.

       125.    Novus also invested significant resources in training the Former Employees and

helping them build referral networks. Defendants’ improper efforts to solicit the Former

Employees have resulted in Texana obtaining the benefits of Novus’s training investments.

RESPONSE: Defendants deny the allegations contained in Paragraph 125 of Plaintiff’s

Complaint.

       126.    Novus invested significant resources in acquiring confidential and trade secret

information that Texana has wrongfully obtained. That confidential information and trade secrets

provides a benefit to Texana at Novus’s expense.

RESPONSE: Defendants deny the allegations contained in Paragraph 126 of Plaintiff’s

Complaint.

       127.    Novus invested in its loan “pipeline” which was stolen by Defendants for Texana’s

benefit. Texana has now been enriched by originating those loans, at Novus’s expense.

RESPONSE:        Defendants deny the allegations contained in Paragraph 127 of Plaintiff’s

Complaint.

       128.    It would be unjust for Texana to retain these benefits. As alleged throughout this

complaint, Texana obtained these benefits through violation of federal and state trade secrets laws,

breaches of contracts, and torts.

RESPONSE: Defendants deny the allegations contained in Paragraph 128 of Plaintiff’s

Complaint.




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        129.    Texana has been unjustly enriched at Novus’s expense in an amount to be

determined at trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 129 of Plaintiff’s

Complaint.

                                         COUNT EIGHT
                                         Civil Conspiracy
                                      (Against all Defendants)

        130.    Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.

RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        131.    Defendants had a meeting of the minds on an object or course of action to (1) solicit

the Former Employees to leave Novus and join Texana, (2) to improperly obtain confidential and

trade secret information from Novus and to use other Novus resources for Texana’s benefit, and

(3) to wrongfully take business from Novus for Texana’s benefit.

RESPONSE: Defendants deny the allegations contained in Paragraph 131 of Plaintiff’s

Complaint.

        132.    Defendants took one or more unlawful overt acts to accomplish this object or course

of action. As alleged throughout this complaint, Defendants achieved these ends through breaches

of contract and tortious activity.

RESPONSE: Defendants deny the allegations contained in Paragraph 132 of Plaintiff’s

Complaint.




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        133.    Novus has suffered damages as the proximate result of Defendants’ actions in an

amount to be determined at trial.

RESPONSE: Defendants deny the allegations contained in Paragraph 133 of Plaintiff’s

Complaint.

                                        COUNT NINE
                             Aiding and Abetting Tortious Conduct
                                    (Against all Defendants)

        134.    Novus realleges and incorporates by reference each of the allegations above as if

fully set forth herein.

RESPONSE: Defendants incorporate by reference and re-allege their responses to each of the

allegations above as if fully set forth herein.

        135.    As alleged above, Defendants are each liable for torts in connection with their

scheme to wrongfully steal Novus’s business, confidential information, and trade secrets and

deliver them to Novus.

RESPONSE: Defendants deny the allegations contained in Paragraph 135 of Plaintiff’s

Complaint.

        136.    Each Defendant knowingly participated in each of the other Defendants’ breaches

and violations. Each Defendant was generally aware of its or his role as part of an overall illegal

or tortious activity, and each Defendant knowingly and substantially assisted the others’ principal

violations.

RESPONSE: Defendants deny the allegations contained in Paragraph 136 of Plaintiff’s

Complaint.




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       137.    Each Defendant is therefore liable for aiding and abetting the torts of each other

Defendant.

RESPONSE: Defendants deny the allegations contained in Paragraph 137 of Plaintiff’s

Complaint.

                                                 ***

       To the extent that any response is required to the “PRAYER FOR RELIEF” sections of

Plaintiff’s Complaint, then Defendants deny all allegations and specifically deny that Plaintiff is

entitled to any relief whatsoever.


                                      GENERAL DENIAL

       Any and all other allegations, claims, and prayers contained in Plaintiff’s Complaint that

have not been specifically admitted or denied are hereby denied in their entirety.

                                     SEPARATE DEFENSES

                                        FIRST DEFENSE

       The Complaint is barred to the extent that it fails to state a claim upon which relief may be

granted.

                                      SECOND DEFENSE

       Plaintiff’s claims are barred in whole or in part to the extent Plaintiff has failed to mitigate

fully its alleged damages.

                                        THIRD DEFENSE

       Plaintiff’s claims are barred to the extent they involve transactions or events, or seek

damages for periods, outside applicable limitations periods.

                                      FOURTH DEFENSE



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       Plaintiff’s claims may be barred in whole or in part by laches, unclean hands, accord and

satisfaction, estoppel, consent, ratification, and/or waiver.

                                         FIFTH DEFENSE

       Plaintiff would be unjustly enriched by any recovery.

                                        SIXTH DEFENSE

       Plaintiff’s claims are barred in whole or in part because none of the alleged acts or

omissions of Defendants were the proximate cause of injuries allegedly sustained by Plaintiff.

                                      SEVENTH DEFENSE

       Plaintiff’s damages are barred to the extent that Plaintiff, in the exercise of ordinary care,

could have avoided the consequence of any alleged conduct.

                                       EIGHTH DEFENSE

       Any award of punitive damages in this case would violate the due process and equal

protection guarantees, and other substantive and procedural safeguards afforded under the United

States Constitution.

                                        NINTH DEFENSE

       Plaintiff is barred from pursuing claims for punitive damages because the alleged acts and

omissions, if any, of Defendants fail to rise to the level required to sustain an award of punitive

damages, do not evidence a malicious or reckless intent to deny Plaintiff its protected rights, and

do not approach wanton or willful conduct to support an award of such damages. Plaintiff has

failed to state a claim for punitive damages under any law.

                                        TENTH DEFENSE

       Plaintiff’s claims are barred because they contravene public policy.




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                                     ELEVENTH DEFENSE

        Plaintiff’s tort claims are barred in whole by the economic loss rule.

                                      TWELFTH DEFENSE

        Plaintiff’s claims for attorney’s fees and expenses are barred in that Defendants have not

acted in bad faith, have not been stubbornly litigious, and have not caused Plaintiff unnecessary

trouble or expense in any transaction underlying Plaintiff’s lawsuit.

                                   THIRTEENTH DEFENSE

        Plaintiff’s claims are barred because they have not suffered the damages complained of in

the Complaint.

                                   FOURTEENTH DEFENSE

        Plaintiff’s claims relating to allegations that Defendants breached a duty owed to Plaintiff

fails because Defendants breached no duties owed to Plaintiff and, in fact, did not owe any duties

to Plaintiff.

                                     FIFTEENTH DEFENSE

        Plaintiff’s claims for tortious interference fail because Plaintiff has no valid contract upon

which these claims are based.

                                     SIXTEENTH DEFENSE

        Plaintiff’s breach of contract claims fail as they are based on contractual provisions that

are unenforceable under applicable Colorado law.

                                  SEVENTEENTH DEFENSE

        Plaintiff’s breach of contract claims fails because Plaintiff lacks a legitimate interest to

support the covenants at issue.




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                                    EIGHTEENTH DEFENSE

        Plaintiff’s claim for tortious interference fail because Defendants acted within their

competitive privileges.

                                    NINETEENTH DEFENSE

        Plaintiff’s claims for breach of contract and tortious interference with contract fail due to

the doctrine of material breach.

                                     TWENTIETH DEFENSE

        Plaintiff’s aiding and abetting claims fail because they have failed to state a claim as to any

underlying tort or unlawful act, and Defendants have not engaged in any conduct to support any

underlying tort or unlawful act.

                                   TWENTY-FIRST DEFENSE

        Plaintiff’s trade secret claims are barred because some or all of the alleged trade secret

information is readily ascertainable by proper means.

                                   TWENTY-SECOND DEFENSE

        Plaintiff’s trade secret claims are barred because some or all of the alleged trade secret

information lacks independent economic value.

                                   TWENTY-THIRD DEFENSE

        Plaintiff’s claims are barred, in whole or in part, by the doctrines of set-off and/or

recoupment. To the extent Plaintiff is entitled to any recovery (which it is not), Defendants are

entitled to set-off the monies due and owing to Sax and Collins against any damages that Plaintiff

is entitled to recover.




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                                 TWENTY-FOURTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, by the doctrine of equitable estoppel.

                                  TWENTY-FIFTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, by the fact that Plaintiff engaged in fraud

to induce Sax and Collins to enter into the contracts at issue and then engaged in further acts of

fraud throughout their employment.

                                  TWENTY-SIXTH DEFENSE

       Defendants expressly reserve the right to amend their Answer to respond further and to

assert additional defenses as may be revealed during the course of litigation.

                                                 ***

       WHEREFORE, Defendants, having fully answered the Complaint and having asserted

their defenses thereto, respectfully request that the Court deny all relief requested in the Complaint,

enter judgment in Defendants’ favor, and grant Defendants such other relief as may be deemed

just and appropriate.



                  DEFENDANTS SCOTT SAX AND MICHAEL COLLINS’
                      COUNTERCLAIMS AGAINST PLAINTIFF

       Counterclaim Plaintiffs Scott Sax (“Sax”) and Michael Collins (“Collins”), by and through

undersigned counsel, state as follows in their Counterclaims against Ixonia Bank, d/b/a Novus

Home Mortgage (“Novus”) and Eric Egenhoefer (“Egenhoefer”) (collectively, “Counterclaim

Defendants”).




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                                        INTRODUCTION

       1.       Why is it hard for some business owners to adhere to standards of ethics and good

faith practices? Given their refusal to honor contracts, their practice of denying to their employees

their promised compensation, and their fraudulent scheme to lure executives into one-sided

employment arrangements through false promises, Novus need only look internally to answer their

own question.

       2.       Novus, through its President and CEO Eric Egenhoefer, recruited Sax and Collins

in May 2024 via a laundry list of guarantees that it never intended to honor. As executives who

oversaw a mortgage team, Sax and Collins were primarily compensated based on the total revenue

derived from the originations of their loan officers. However, Novus (at Egenhoefer’s direction

and behest) began to systemically raise the amounts it would take from Sax and Collins despite

the contractual terms the parties had previously negotiated. This left Sax and Collins with an

impossible dilemma—either raise prices on their loans and lose competitive standing in the

marketplace or earn significantly less thanks to Novus’s blatant disregard for their promises.

       3.       In order to further deprive Sax and Collins of their rightful compensation based on

their team’s production, Novus withheld real-time financial reports from Sax and Collins and only

provided such reports at a much later date, which is highly irregular in the industry. Upon review,

these reports were consistently replete with errors that favored Novus at Sax and Collins’ expense.

When Sax and Collins would report these errors to Novus, Novus would delay amending them to

the greatest extent possible in a further attempt to hoard Sax and Collins’s rightful compensation

for themselves.




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       4.      Novus became even more brazen in its wrongdoing over the course of Sax and

Collins’s employment. Despite the fact that Sax and Collins were contractually entitled to a

monthly $19,000 base payment, Novus National Sales Director Brian Jensen (“Jensen”) stated

that Novus and Egenhoefer “didn’t care” about their obligations and, in November 2024, failed to

provide Sax and Collins with their base payment. Finally, when Sax and Collins left Novus as a

result of this unlawful conduct, Novus refused to pay them their earned wages and converted their

property in violation of Colorado law.

       5.      Despite their bad faith actions throughout the entirety of their employment

relationship, Novus has now brought this meritless lawsuit against Sax and Collins. Upon

information and belief, Novus likely intends to use this lawsuit as a scare tactic to discourage other

business units from leaving the company in order to continue their fraudulent practice of exploiting

their own employees.

                                PARTIES AND JURISDICTION

       6.      Counterclaim Plaintiff Scott Sax is an individual who is a citizen of Colorado.

       7.      Counterclaim Plaintiff Michael Collins is an individual who is a citizen of

Colorado.

       8.      Counterclaim Defendant Ixonia Bank, d/b/a Novus Home Mortgage is a bank

chartered in the state of Wisconsin with its principal place of business located in Wisconsin.

       9.      Counterclaim Defendant Eric Egenhoefer is an individual who, upon information

and belief, is a citizen of Wisconsin.

       10.     This Court has supplemental jurisdiction over Sax and Collins’s claims because

they are compulsory counterclaims which form part of the same case or controversy as Novus’s




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claims under Article III of the United States Constitution pursuant to Fed. R. Civ. P. 13(a) and 28

U.S.C. § 1367(a).

                                             FACTS

   A. Sax and Collins Go to Work for Novus.

       11.     Sax and Collins are longtime members of the mortgage industry. Prior to their

employment with Novus, Sax and Collins served as Vice Presidents at the Bank of England from

October 2014 until their departure in early 2024.

       12.     In May 2024, Sax and Collins engaged in discussions to join Novus in an executive

capacity as managers of a Novus branch in Denver, Colorado (the “Branch”). Sax and Collins

negotiated directly with Egenhoefer regarding the terms of their employment. In order to induce

Sax and Collins to join Novus, Egenhoefer made numerous promises to Sax and Collins that would

seemingly ensure favorable conditions for Sax, Collins, and their direct reports at Novus.

       13.     Sax and Collins were attractive to Novus and Egenhoefer because their successful

track records in the industry and already-assembled team meant that Novus could essentially

acquire a highly-functioning loan business for no upfront cost and minimal ongoing cost. As a

result, Egenhoefer and Novus were aware that they needed to present Sax and Collins with

advantageous terms of employment in order to match the strength of the services that Sax, Collins,

and their team could offer Novus.

       14.     During this recruitment process, Sax and Collins made clear that the most important

factor in the parties’ arrangement was the “corporate margin” that Novus would take from loans

generated by Sax and Collins’s team. This margin was critical to the success of the parties’

relationship because if Novus insisted upon receiving too large of a margin, then Sax and Collins




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would either be forced to raise interest rates, making them uncompetitive in the marketplace, or

receive lessened compensation for their work. As highly experienced executives, Sax and Collins

were confident that if Novus offered an appropriate corporate margin, then Sax and Collins could

expect to run the Branch at a profit and to the benefit of all parties based on their extended track

record in the industry.

        15.    In order to meet this requirement, Egenhoefer repeatedly made clear that Novus’s

corporate margin would equal 80 BPS on conventional loans and 100 BPS on government loans,

in addition to fixed fees for costs such as underwriting. “BPS” refers to Basis Points, a unit of

measurement for interest rates that equal 0.01%. While this was slightly higher than Sax and

Collins desired, Egenhoefer assured Sax and Collins that Novus had not altered its margins since

the inception of the company and that Sax and Collins could rely on the margin remaining at that

amount.

        16.    Novus made numerous additional promises to Sax and Collins. For example, in an

email on May 8, 2024, Egenhoefer represented to Sax and Collins that Novus would only collect

50 BPS on all brokered loans generated by the Branch. (See Ex. A.) Egenhoefer also guaranteed

that, upon dissolution of the relationship between the parties, Sax and Collins could “take [their]

group back[,]” referring to the employees Sax and Collins intended to bring to Novus, who

Egenhoefer promised would be carved out of any applicable non-solicitation agreement. (Id.) The

parties agreed that Sax and Collins on the one hand and Novus on the other would each be entitled

to keep “their marbles” if the arrangement was to end: Sax and Collins would retain their team,

their client base, and referral contacts, while not retaining anything new they received from Novus.

(Id.)




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        17.      After reaching agreeable terms, Sax and Collins requested that Novus provide them

with written agreements detailing the parties’ arrangement. However, Egenhoefer repeatedly

delayed in providing Sax and Collins with such contracts, and drafts of the agreements were

consistently inaccurate with respect to the terms to which the parties had agreed.

        18.      Several months after Sax and Collins commenced work for Novus in May 2024,

each signed a Non-Producing Branch Manager Employment Agreement (“Employment

Agreement”) and a Non-Producing Branch Manager Compensation Addendum (“Compensation

Addendum”) (collectively, “Agreements”). While the Agreements were not actually executed by

Sax and Collins until much later, they contain an effective date of May 15, 2024 at the insistence

of Egenhoefer. (See Ex. B; Ex. C; Ex. D.)

        19.      At this point in time, Novus already had access to the entirety of the loans and client

database possessed by Sax, Collins, and their team, so Sax and Collins felt coerced into executing

and backdating the Agreements without attorney review due to the pressure imposed by

Egenhoefer and Jensen.

        20.      The Branch was almost entirely staffed by Sax and Collins, not Novus. Of the 24

employees at the Branch, only four had not previously worked with Sax and Collins and Novus

was not responsible for hiring any of the remaining four.1 As Executive Western Regional

Managers, Sax and Collins were responsible for managing the Branch and ensuring that its loan

officers (known as “producers”) maximized revenue through loan originations.




1
  Although Egenhoefer promised to recruit additional staff for the Branch, Novus was not able to hire experienced
loan officers because potential candidates familiar with the industry refused to subject themselves to the
extraordinarily high corporate margin that Novus imposed on the Branch after violating its promises to Sax and
Collins.



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       21.     Commensurate with these duties, the Employment Agreement and Compensation

Addendum provided that Sax and Collins would be compensated based on the Branch’s profits.

The Employment Agreement contains a Cover Sheet that acknowledged that Sax and Collins

would “receive monthly payout of branch profits[,]” which were to be split evenly between Sax

and Collins, subject to profitability and reserve requirements. (Ex. B, p. 1.) However, the Cover

Sheet also explicitly stated:

       You will receive a monthly draw of $19,000. This will be paid out on the payroll
       following the prior month’s financials and will be recoverable through the P&L.
       This draw cannot cause a loss of profitability for the branch beyond 6 months after
       your hire, beginning December 1, 2024.

(Ex. B, p. 1) (emphasis added).

       22.     In other words, prior to December 2024, Sax and Collins’s right to a $19,000

monthly payment was unconditional.

       23.     The Compensation Addendum, executed contemporaneously with the Employment

Agreement, specifically details the additional compensation that Novus promised Sax and Collins.

Sax and Collins were also entitled to a guaranteed annual salary of $55,000 (Ex. C, § 1(a)), in

addition to a “Branch Net Income” payment, defined as:

       I. Revenue derived from the originations of the Branch; less II. Any amounts
       previously paid to Employee for the Guaranteed Salary not already taken into
       account by a prior calculation, less III. Any amounts allocated by Company as
       “Branch Expenses” as defined in this Addendum, less IV. The Branch Reserve,
       which is equal to $10,000, less V. The Loan Loss Reserve, which is equal to 5 BPS
       per Loan. (Loan Loss Reserves are Company Funds and are not included in any
       Branch Net Income paid to Employee).

(Ex. C, § 1(b)).

       24.     In simple terms, Sax and Collins were entitled to the profits of the Branch after all

expenses were paid and Novus received its set percentage of the Branch’s revenue. Based on their




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extended histories in the mortgage industry, Sax and Collins determined that they could expect to

earn between $300,000-$1,500,000 a year based on the corporate margin that the Counterclaim

Defendants had represented during negotiations, depending on market factors.

       25.     The Compensation Addendum also restates the Compensation Terms included in

the Cover Sheet. (Id., § 1.)

       26.     Section 17(n) of the Employment Agreement contains a merger clause that states

as follows:

       The parties intend that this Agreement, the exhibits thereto, and incorporated
       documents (including the operative Comp Agreement) . . . control any other
       agreements, express or implied, oral or written, regarding this subject matter, except
       as set forth therein . . . The Company reserves the right to modify, alter, or amend
       any provision of this agreement upon written notice to the Employee. Such
       modifications regarding the terms of this agreement will not be considered
       valid unless they are in writing and executed by Employee and an authorized
       representative of the Company, unless otherwise set forth in those documents.

(Ex. B, § 17(n)).

       27.     At no time did either Sax or Collins agree in writing to alter the terms of the

Employment Agreement or the Compensation Agreement.

       28.     Finally, the Employment Agreement provides that it will be governed by the laws

of the state in which the employee is primarily employed by Novus, which in this case is Colorado.

(See id., § 17(m)).

   B. Novus Repeatedly Breaches Its Obligations.

       29.     Unbeknownst to Sax and Collins at the time, Novus had absolutely no intention of

honoring its contractual promises to either individual.




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         30.      At the outset, Egenhoefer insisted that Sax and Collins begin to transition their

loans and client leads to Novus prior to the start of their employment and before Sax and Collins

had signed written contracts with Novus.

         31.      Despite the terms negotiated by the parties, as well as the plain language of the

Compensation Agreement, Novus began to increase the amount it would take from the Branch’s

loan originations by increasing its corporate margin. Soon after the commencement of Sax and

Collins’s employment, Novus reneged on its initially agreed to a share of 80 BPS on conventional

loans and 100 BPS on government loans originated by the Brach and instead doubled its corporate

margin in flagrant violation of its repeated promises. This meant that Sax and Collins were

compensated significantly less than they expected (and owed) based on Novus’s

misrepresentations. However, at least one Novus executive stated that this was standard practice

at Novus and informed Sax and Collins that it was known as “feathering up” margins at the

commencement of employment. This sharp increase in corporate margin meant that Sax and

Collins could not make a profit on their loans without raising interest rates, which cratered their

ability to compete in the marketplace.2

         32.      As a result of Novus’s actions, numerous brokers with whom Sax and Collins had

done business for years moved their loans elsewhere. The brokers cited the non-competitive

pricing that Sax and Collins were forced to charge. As a result of Counterclaim Defendants’

actions, Sax and Collins missed out on substantial compensation and also saw their reputations

diminished in the eyes of long-term referral sources.



2
  Loan officers (which Sax and Collins are not) are subject to fixed rates of compensation by federal law; thus, Novus’s
increased corporate margin came directly at the expense of Sax and Collins.



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       33.     When Sax and Collins were forced to focus on brokered loans as a result of Novus’s

conduct rendering the Branch uncompetitive in other segments of the market, Novus unilaterally

raised its 50 BPS share of all brokered loan revenue to 75 BPS in December 2024 despite the fact

that the Regional Manager Addendum Novus executed with Sax explicitly stated that “[c]orporate

will be entitled to a 50 BPS fee vs. our standard 75 BPS on all broker business.” (Ex. E, ¶ 3(1).)

       34.     While Novus lined its pockets with its dramatically increased margins, Sax and

Collins lost significant compensation in addition to key relationships with their own team and

outside referrals, who had come to trust Sax and Collins’s loan pricing and business structure.

During this time, Egenhoefer and Jensen repeatedly encouraged Sax and Collins to terminate the

Branch’s operations staff and allow Novus’s corporate team to handle those functions in an effort

to steal Sax and Collins’s pipeline, clients, and loan officers.

       35.     Novus’s wrongdoing extended far beyond its scheme of raising its BPS amounts.

During Sax and Collins’s employment, Novus quadrupled its reserve minimums, which meant that

Sax and Collins were not paid a Branch Net Income payment until there was up to $100,000 in

reserve. There was no good faith justification to take this action other than to enrich Novus at the

direct expense of Sax and Collins.

       36.     When Sax and Collins brought their concerns about Novus’s pricing changes to

Novus management, Egenhoefer and Jensen instructed Sax and Collins to tamper with the

compensation of the Branch’s loan officers in violation of the Truth in Lending Act and other

federal law.




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       37.     In addition to these numerous schemes to unjustly enrich Novus through changes

to Sax and Collins’s compensation formula, Novus also attempted to withhold critical financial

information from Sax and Collins in order to fraudulently underpay them.

       38.     It is standard practice for banks to provide their executives with real-time profit and

loss information when such information impacts an executive’s compensation. However, Novus

refused to allow Sax and Collins to view the Branch’s profit and loss statements until much later,

with the reports Sax and Collins received often outdated by a month or longer. Upon review, Sax

and Collins discovered numerous errors in the statements that consistently favored Novus and

resulted in reduced compensation to Sax and Collins. When Sax and Collins reported these

mistakes, Novus would delay rectifying the errors in order to avoid paying Sax and Collins for as

long as possible.

       39.     When Sax and Collins protested Novus’s wrongdoing, particularly its egregious

violations of the Agreements, Jensen explicitly informed Sax and Collins in October 2024 that

Novus did not care about the Agreements.

       40.     Finally, seemingly unsatisfied with their numerous attempts to sap Sax and Collins

of their due compensation in order to enrich themselves, Novus refused to pay Sax and Collins

their $19,000 monthly draw in November 2024 in blatant violation of the Employment Agreement

and Compensation Addendum.

       41.     To date, Novus has not paid Sax or Collins the $19,000 that remains outstanding

from their November monthly draw.

       42.     All told, Novus’s persistent attempts to shirk their contractual obligations and their

fraudulent concealment of accurate financial reports cost Sax and Collins significant compensation




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in an amount still undetermined. Additionally, Novus’s blatant failure to comply with their

obligations under the Employment Agreement and Compensation Addendum constitutes a

material breach of both contracts which entitles Sax and Collins to monetary damages and to

terminate the Agreements.

        43.      Sax and Collins have learned that Novus has engaged in similar behaviors with

other groups that it has recruited, namely by changing BPS numbers, engaging in false accounting,

altering payment terms, and other forms of dishonest behavior. Based on this pattern and practice,

Sax and Collins have concluded that Novus never intended to honor its promises to them. Instead,

it made these promises as part of a scheme to induce them to move their team to Novus, force Sax

and Collins out, and retain the most valuable members of the team after a trial by fire.

    C. Sax and Collins Leave Novus, Who Withholds Their Pay and Converts Their
       Property.

        44.       Understandably frustrated with Novus’s repeated unlawful actions and its

placement of Sax and Collins in untenable positions with the realtors with whom they have been

doing business for years, Sax and Collins decided to resign from their positions with Novus in

January 2025, with their team choosing to join them based on their long relationships that predated

their work for Novus.3 Sax and Collins first communicated this via phone call to Jensen, who

apologized for any action Novus had taken to force Sax and Collins to leave. After Sax confirmed

this decision in an email to Egenhoefer and Jensen, Jensen stated that he and Egenhoefer would

“do all that we can do assist you in this transition.” (Ex. F.) As a show of good faith, Sax and

Collins agreed to adopt the lease for the Branch’s office space, even though they did not actually


3
 Egenhoefer explicitly promised that Sax and Collins could “take their group back” at the end of employment. (Ex.
A.)



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want it. However, upon learning of their resignations, Egenhoefer became incensed, locked Sax

and Collins out of the Branch’s office, and made numerous impossible demands to Sax and Collins.

       45.     As a result of Egenhoefer’s refusal to allow Sax and Collins access to their own

office space, Novus has retained numerous items of Sax and Collins’s personal property, which it

refuses to return. Specifically, Novus has retained the following property that belongs to Sax and

Collins:

                          •   15 laptops;

                          •   Approximately 30 monitors;

                          •   At least one printer;

                          •   Miscellaneous IT equipment (routers, switches, etc.);

                          •   Furniture (ping pong tables, a kegerator, a bar, office furniture and

                              chairs, plants, potters, etc.);

                          •   Three televisions;

                          •   Kitchen supplies;

                          •   A microwave;

                          •   A coffee machine; and

                          •   Various office supplies.

       46.     Novus has also retained a toll-free phone number that Sax and Collins have been

using for two decades.

       47.     Egenhoefer’s fury upon learning of Sax and Collins’s resignation evidences the

goal of his and Novus’s fraudulent scheme: Novus intended to lure Sax and Collins through false

representations before manipulating their margins to render Sax and Collins uncompetitive in the



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industry, at which time Novus could fire Sax and Collins for cause while retaining the valuable

assets they brought to Novus, such as their team, loan pipeline, and leads.

       48.     In what amounts to a final attempt to withhold Sax and Collins’s owed

compensation, Novus refused to pay Sax or Collins their unused paid time off (“PTO”) at

separation, in clear violation of the Colorado Wage Act, C.R.S. § 8-4-101.

       49.     Sax and Collins have been significantly injured in numerous ways as a result of

Novus’s consistent unethical and bad faith conduct: they have lost untold amounts of Branch Net

Income compensation thanks to Novus’s unlawful manipulation of its corporate margin, reserve

amounts, and financial reports; they are owed $19,000 in unmade monthly draw payments from

November 2024; and they have not been issued a payout of their unused PTO as required by

Colorado law. Novus has willfully withheld these due wages from Sax and Collins, despite written

demand, which entitles Sax and Collins to treble damages and their reasonable attorneys’ fees.

       50.     Finally, Sax and Collins have suffered further injury as a result of Novus’s

fraudulent misrepresentations regarding the terms of their employment, which Sax and Collins

relied on in accepting Novus’s offer of employment: due to Novus’s deceptions Sax and Collins

lost numerous loan opportunities and harmed their reputation with their referral sources.

Specifically, Sax and Collins have been informed by multiple realtors that they were forced to stop

using Sax and Collins’s services as a direct result of the rates Sax and Collins were required to

charge due to Novus’s deception.

                                          COUNT I
                   Violation of Colorado Wage Act, C.R.S. § 8-4-101 et seq.
                                (All Counterclaim Defendants)




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       51.      Sax and Collins incorporate the foregoing paragraphs as by reference as if fully set

forth herein.

       52.      Sax and Collins are owed wages and compensation in the form of the full amount

of their November 2024 monthly draw, their full Branch Net Income payments, and a payout of

their accrued but unused PTO at the time of the end of their employment with Novus.

       53.      Egenhoefer, as the CEO of Novus, was Sax and Collins’s “employer” pursuant to

C.R.S. 8-4-101(6).

       54.      The total amount of unpaid wages related to Sax and Collins’s November monthly

draw is $19,000 per individual. Novus is able to readily determine the amount of Sax and Collins’s

unused PTO but has failed to provide Sax and Collins with their personnel files to identify the

amount they are owed. The full extent of their owed wages and compensation from Novus with

respect to the Branch Net Income payments is still to be determined.

       55.      As described herein, Egenhoefer used Novus to perpetuate a fraud in inducing Sax

and Collins to work for Novus under false pretenses in an effort to steal Sax and Collins’s valuable

industry assets such that he is personally liable for such unpaid wages.

       56.      Sax and Collins have demanded payment of their fully earned wages from Novus

and Egenhoefer. To date, Novus and Egenhoefer have failed to make any such payment of Sax

and Collins’s earned, vested, and determinable wages.

       57.      Novus has willfully, knowingly, and recklessly disregarded C.R.S. § 8-4-101 et seq.

Novus has no good faith justification for withhold such wages from Sax or Collins.




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       58.    Sax and Collins are entitled to payment of their earned, vested, and determinable

wages and compensation subject to an automatic penalty of three times the amount of unpaid

wages due pursuant to C.R.S. § 8-4-109.

       59.    In the alternative, Sax and Collins are entitled to payment of their earned, vested,

and determinable wages and compensation subject to an automatic penalty of two times the amount

of unpaid wages due pursuant to C.R.S. § 8-4-109.

                                        COUNT II
                                    Breach of Contract
                              (Counterclaim Defendant Novus)

       60.    Sax and Collins incorporate the foregoing paragraphs as if fully set forth herein.

       61.    The parties entered into the Employment Agreement and Commission Addendum

on May 15, 2024. Both contracts are valid and enforceable.

       62.    Pursuant to the Cover Sheet of the Employment Agreement and § 1 of the

Commission Addendum, Sax and Collins were each entitled to a monthly draw in the amount of

$19,000. This monthly draw was unconditional prior to December 1, 2024.

       63.    Novus failed to pay Sax and Collins the full value of their monthly draws in

November 2024.

       64.    § 1 of the Commission Addendum entitled Sax and Collins to split the Branch’s

Net Income subject to certain subtractions, including a Branch Reserve of $10,000 and a Loan

Loss Reserve of 5 BPS per loan.

       65.    Novus breached the terms of the Commission Addendum by raising the Branch

Reserve and the Loan Loss Reserve, resulting in Sax and Collins receiving Branch Net Income




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payments that were significantly lower than Novus was obligated to pay under the terms of the

Commission Addendum.

       66.     Novus’s flagrant violations of the Employment Agreement and Commission

Addendum constitutes a material breach of both contracts between the parties.

       67.     Sax and Collins have been damaged in excess of $19,000 each, with the full amount

to be determined at trial.

                                          COUNT III
                                     Fraudulent Inducement
                                 (All Counterclaim Defendants)

       68.     Sax and Collins incorporate the foregoing paragraphs as if fully set forth herein.

       69.     Prior to Sax and Collins’s employment with Novus, Sax and Collins engaged in

extensive negotiation with Novus management, particularly Novus President and CEO Eric

Egenhoefer.

       70.     Egenhoefer made numerous representations regarding the terms and conditions of

Sax and Collins’s employment at Novus, including promises regarding reserve amounts and the

BPS Novus would take from each loan originated by Sax and Collins’s Branch.

       71.     Novus and Egenhoefer had no intention of honoring these promises, which were

material misrepresentations calculated to induce Sax and Collins to accept employment at Novus.

At all times, Novus and Egenhoefer were aware that they were concealing their intent to alter the

terms of employment that it had assured Sax and Collins they would be subject to in order to

destroy Sax and Collins’s competitive standing in the marketplace. Novus and Egenhoefer pursued

this goal in order to remove Sax and Collins from the Branch in order to claim the Branch’s highly

valuable assets (such as its loan officers, loan pipeline, and referral contacts) for themselves.




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       72.     The fact that Novus and Egenhoefer have engaged in similar behavior with other

business units that they have lured to Novus indicates that its dishonest business dealings are part

of a pattern and practice, fully thought-out in advance and executed as a plan.

       73.     As parties to a potential business transaction, Novus and Egenhoefer had a duty to

disclose if it they had stated facts that it knew would create a false impression unless other facts

were disclosed.

       74.        Novus and Egenhoefer’s true intentions regarding the terms and conditions of Sax

and Collins’s employment and compensation with Novus were facts that in equity and good

conscience should have been disclosed under Colorado law.

       75.     Sax and Collins justifiably relied on Novus and Egenhoefer’s material

misrepresentations in deciding to accept employment with Novus.

       76.     Sax and Collins have been injured as a result of Novus and Egenhoefer’s fraud. Sax

and Collins are experienced, high-level mortgage executives who possess incredibly desirable

skills and assets. Based on their extended track records in the industry, Sax and Collins had a

reasonable expectation that they would earn between $300,000-$1,500,000 on an annual basis had

Novus and Egenhoefer fulfilled their false promises. If not for Counterclaim Defendants’

misconduct, Sax and Collins could have earned this amount for Novus, or, alternatively, gained

employment with a business that appropriately compensated Sax and Collins for their services in

the amount above and honored the terms of their agreements.

       77.     Instead, Sax and Collins joined Novus in reliance on Novus’s deceit, which caused

significant losses compared to their reasonable expectations based on Novus’s false promises in a




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full amount to be determined at trial, in addition to damages to their reputation, business goodwill,

and customer relationships.

       78.     Sax and Collins are entitled to exemplary damages because the injury complained

of is attended by circumstances of fraud, malice, and willful and wanton conduct pursuant to C.R.S.

§ 13-21-102.

                                          COUNT IV
                                          Conversion
                                (Counterclaim Defendant Novus)

       79.     Sax and Collins incorporate the foregoing paragraphs as if fully set forth herein.

       80.     After the end of their employment with Novus, a large amount of Sax and Collins’s

personal property remained in the Branch’s office space.

       81.     Novus has denied Sax and Collins access to the Branch to retrieve their property

and has failed to return any of Sax and Collins’s property to them.

       82.     In preventing Sax and Collins from accessing their rightful property, Novus has

committed an unauthorized act of dominion or ownership over Sax and Collins’s property in

violation of Colorado law.

       83.     Sax and Collins are entitled to the value of their converted property in monetary

damages.

       84.     Novus’s conversion of Sax and Collins’s property was done maliciously, willfully,

and wantonly such that Sax and Collins are also entitled to exemplary damages pursuant to C.R.S.

§ 13-21-102.

                                          COUNT V
                                          Civil Theft
                                (Counterclaim Defendant Novus)




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       85.       Sax and Collins incorporate the foregoing paragraphs as if fully set forth herein.

       86.       Novus has knowingly retained and exercised control over Sax and Collins’s

property of value without authorization.

       87.       Novus has refused to return such property upon request, which indicates that Novus

intends to deprive Sax and Collins permanently of the use and/or benefit of the property of value.

       88.       As a direct and proximate result of Novus’s civil theft, Sax and Collins have

suffered damages in an amount to be proven at trial.

       89.       Pursuant to C.R.S. § 18-4-405, Sax and Collins are also entitled to treble damages

equal to three times the amount of actual damages, as well as an award of costs and attorneys’ fees.

                                      PRAYER FOR RELIEF

       WHEREFORE, based on the foregoing, Counterclaim Plaintiffs Steve Sax and Michael

Collins respectfully request this Court grant the following relief:

       (a) An award of money damages for Counterclaim Defendants’ wrongful acts as alleged

             herein, including, but not limited to actual damages, pre-litigation attorneys’ fees and

             costs, and Counterclaim Defendants’ unjust enrichment as a result of their unlawful

             acts;

       (b) Treble damages for Counterclaim Defendants’ knowing and willful violations of

             C.R.S. § 8-4-101 et seq., or, in the alternative, automatic double damages as authorized

             by C.R.S. § 8-4-109;

       (c) Treble damages for Novus’s civil theft, pursuant to C.R.S. § 18-4-405;

       (d) An award of exemplary damages for Counterclaim Defendants’ malicious, willful, and

             wanton fraudulent inducement;




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     (e) An award of exemplary damages for Novus’s malicious, willful, and wanton

        conversion;

     (f) The fair market value of the property Novus has converted;

     (g) An award of costs and attorneys’ fees; and

     (h) An award of such other relief that the honorable Court may deem just and proper.




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                                  Respectfully submitted,

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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
 IXONIA BANK d/b/a NOVUS HOME           )
 MORTGAGE,                              )
                                        )      CIVIL ACTION FILE NO.
            Plaintiff,                  )
                                        )      1:25-cv-00516
 v.                                     )
                                        )
 TEXANA BANK NA, SCOTT SAX, and         )      JURY TRIAL DEMANDED
 MICHAEL COLLINS,                       )
                                        )
            Defendants                  )
 SCOTT SAX and MICHAEL COLLINS,         )
                                        )
            Counterclaim Plaintiffs,    )
                                        )
 v.                                     )
                                        )
 IXONIA BANK d/b/a NOVUS HOME           )
 MORTGAGE and ERIC EGENHOEFER,          )
                                        )
            Counterclaim Defendants     )

                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2025, I electronically filed DEFENDANTS’ ANSWER

AND SEPARATE DEFENSES TO PLAINTIFF’S COMPLAINT AND COUNTERCLAIMS

using the Court’s electronic filing system, which will automatically send email notification of such

filing to the following attorney(s) of record:

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